 

 

Case 4:04-cv-02688-JEJ Document 231-19 Filed 09/29/05 Page 1 of 6

APPENDIX IV
TAB BB
 

 

‘?°

Case 4:04-cv-02688-JEJ Document 231-19 Filed 09/29/05

 

 

REPORT

wore a HOUSE OF REFRESENTATIVES 101-384

NO CHILD LEFT BEHIND ACT OF 2001

CONFERENCE REPORT

TO ACTOMPANY

WLR. 1

 

DECEMBER 13 (agislative day, DECEMBER 12), 200t-rderad ta be
printed

 

CS. GOVERNMENT PRTG OFFICE

shoo WASHINOTO : 2K

Page 2 of 6

EXHIBIT

i,

 

 
 

i

Case 4:04-cv-02688-JEJ Document 231-19 Filed 09/29/05 Page 3 of 6

702

75. The House bill and the Senate amendment are substan-
tially similar with the exceptiane indicated in notes 40 and 60 re-
earding references to standards and aseesemeénts, and with the ez-
ception, indicated in note 76.

L

76. The House bill and the Senate amendment are similar with
the exception thet the House hill, but not the Senate amendment,
references regulations published the Secretary relating to the
eandanis and assesements required under Title I, part A.

Ek

77. The House bill does not contain a similar provision.

BR with an amendment to strike subparagraph {H) and
insert the following as a new subparagrap t

“(HD The accountability provisions under thie Act shall
be overseen for charter achoole in accordance with State
charter school law."

Language:

“Charter sunools are public schools and therefore sut-
jeet to the same accountability requirements of thie Act as
they apply to other public schools, including Sections 1111
and 1116, ae developed in each state. However, there is no
intent ta replace or duplicate the role of authorized char-
tering agencies, #5 established under each state’s charter
schoo! law, in overseeing the Arct’s accountability
ments for the charter schools that they authorize. Author-
ized chartering agencies should be held accountable for car-
rying ont their oversight responsibilities as determined by
each state through its charter school law and other applica-
ble state laws. s should be dome in ways that do not in-
hibit or disrourage the approval or oversight of innovative,
high quality charter echools.”

78, Tha House bill and the Senate amendment are similar with
following exceptions: (1) Tha Houge bill, but not the Senate amend-
ment, refers to the State implementing a aet of assessments; (2)
The Senate amendment, but net the House hill, refers to consulte-
tion with LEAs in the assessment plan; (3) The Senate amend-
ment, but not the Honse bill, requires science assessments, but
sides an exception that such assessments shall not be required
until the 2007-2008 echool year; (4+ The Howse pill, but not the
Senate amendment, refers to the yearly performance progresea of
the State; (5) The House bill, but not the Senate amendment, refers
ta “challenging” standards; and (6) See notes 40 and 50 regarding
references to standerde and assessments.

SR with an amendment to:

Insert “in consultation with local educational agencies,”
after “that the State", insert “and science” after “lan
aris", insert after “achievement standards" and before the
period the following: “except that no State shall be required
40 meet the requirements of this part relating ip science as-
seaHnents woitl the beginning of the 2007-2008 acheol year”.

Insert before “Such assessments shall—" the following
language:

“Each State may incorporate the date from these assese-
ments into a state-developed longitudinal data system that
 

Case 4:04-cv-02688-JEJ Document 231-19 Filed 09/29/05 Page 4 of 6

TOS

Links student test scores, length of enrollment, and gradnua-
tion records over time.”

LC regarding references to standards and assessments.

Report Language: .

“The Conferees are aware of, and encouraged by, initia-
tives undertaken in some States to enable parents and oth-
ers tO compare the s of students, classrooms and
echools on a longitudinal basis. The Conferees wish to make
clear that States may incorporate the data from the assese-
ments required under this subsection into a state-developed
longitudinal data system that links students’ test scores,
1 of enreliment, and graduation records over time.
Such systems may enable policymakers, educators, and par-
ents ta better evaluate the success of achoole by reporti
on the achievement of students enrolled in the same schoo
for at least three years.”

“The Conferees recopnize that a quality science edu-
eation should prepare students to distin ish the data and
. testable theories of science from religious or philosophical

 

 

claims that are made in the name of science, Where topics
are taught that may penerate controversy (such as biologi-
enl evolution), the curriculum should help students io un-
derstand the fell range of scientific views that exist, why
such topics may generate controversy, and how scientific
discoveries can profoundly affect society.”

79. The House bill and the Senate amendment are the same
with the exception indicated in note 40 regarding references to
standards .

GO. The House hill and tha Senate amendment are similar with
the following exception: The Senate amendment, but not the House
bill, refers to “nationally” standards of testing that are
dev d and used by “national experts on educational testing”.

With an amendment toe strike “developed and... om
adueational testing;”

Bl. The Senate amendment does not contain a similar provi-
2100.

HE

a2. The House bill doses not contain a similar provision.

HE with an amendment to insert after “Act,” the words
“and are cousistent with the requirements of this section,”.

3. The House bill raquires assessments in at least mathe-
matics and randing or lan e arts at least once im the grade
spans listed. The Senste amendment requires assesaments to com-
rence not later than the (1-02 school year for students served
under Title I, part A in mathematics and reading or language arts
at least once in the grade spans listed.

Sk with an amendment:

“(R\G) except as otherwise provided for grades &
through § under aubparagraph [(G}l, measure the pro-
ficiency of students in, at a minimum, mathematics and
reading or language arta, and be administered not less
than on¢e durin

“(T} arades $ through 4,

 

 
 

Case 4:04-cv-02688-JEJ Document 231-19 Filed 09/29/05 Page 5 of 6

147 Cong.Rec. 5123565-07

147 Cong. Rec, S13365-07, 2001 WL 1613966 (Cong.Rec.}

(Cite ag: 147 Cong. Rac. 513365-07}

This reauthorization allows States to help

 

echools that have not mek their annual

goal through the dedication of additional resources fo help turn the school around,
while guaranteeing studenta access to supplemental services to bolster their

education. Students are not trapped in failing
ensures that students in a failing school can
their home school is congidered ta bea falling

In order to have aceountability there needs
teasure the school's success. I am pleased tha
co determine not only the Assessment system bu

"My own State of Maine has worked for severa

schools, as the conference Trepert
transfer to another public school Lf
for mere than 1 year.

to pe some sort of miler by which te
t the conference report allows btates
t also the annual achievement goals.

Ll years to develop its own ASSesament

system to ensure that our students, and our achools, are achieving. Having witnessed

the evolution of Maine's Learning Results Prog
would not support this conference report if 7
Maine's efforts. To the contrary. J believe it

ram over the past several years, I
thought that it would interfere with
would build on those efforts, and

therefore I will support passage of the conference report. Raditionally, passage of

the conference report is aupported by Maine's
Albanese. ,

Commisaioner of Education, Duke

My suppert for this package is tempered only by my disappointment that the

eonferees did fully Fund the Individuals with

Digabilities Education Act or IDEA.

The Senate, by @ unanimous ¥ote, supported the ingiusion of mandatory Full funding
for IDEA during tonsideration of the ESEA bill in the spring.

IDER is an unfunded mandate that is draining precioua resources from our States
and in each and every commumity.. Twenty-six years ago, Cengrese committed te paying
40 percent of IDEA funding, and we have yet [to come Close. While Congress has more
than dowbled IDEA funding over the past 5 years, the Federal Government has not

contributed more than 15 percent ef the total

cost of IDEA.

Full funding would free up billions oE dollars nationwide, and approximately $60
million in Maine, freeing up local and State education meney which can then be used
Eor other pressing needs. Throughout my tenure in Gengress, I have fought for fuil
funding of IDEA and this is a fiqght I will met give up.

Those conferees who opposed including the full funding provisions in this
nonference report argued that this program cannet be made mandatory until the
program ig reformed and reauthorized. Fortunately, IDEA is due for reauthorization
next year and I will ba working to ensure that it is fully Funded.

I appreciate the diligence of my colleagues whe ait on the Senate Health,
Education, Labor, and Penaions Committee in this effort, and I lock forward ta

supporting this conference Yeport and sending

ik to the President for his signature.

I believe this legislation will make an important difference in the future of our

children as well 45 our Nation.

Hr. SANTORUM.

Mr. President, I am very gratified that the Houre and Senate conferees included
in the conference report st the elementary and secondary education bill the language
of a yesolution I introguced Guring the earlier Senate debate. That resolution
mencerned the teaching of eomtroversies in science. It was adepted 91-8 by the
Benate,. BY passing it we weré showing our desire thet students studying
controversial issues in Science, such as bislogical evolution, snould be allowed to
jearn about competing scientific interpretations af evidence. Ks a result ef our

vote today that position is about to hecome 4

positior af the Congress as a whole-

When the Senate bill was first ander discussion in this body, I references an
excellent Utah Law Review article, Volume 2000, Number 1, by David K. Dewelt,
Stephen C. Meyer ard Mark Edward DeForrest. The authors demonstrate that teachers
have a constitutional right toa teach, and students to learn, about acientific
controversies, so long as the discussion is about science, not religion of

& 20605 Thomgen/Weet. Wa Slaim te Orig. 0.3. Govt. Works.
Case 4:04-cv-02688-JEJ Document 231-19 Filed 09/29/05 Page 6 of 6

 

147 Ceng- Rec. 9$13365-07 . . Page it

147 Cong. Rec. $12365-07, 2001 WL 1614966 [(Cong.Rec.]

[Cite ac: 347 Cong. Rac. 9139365-07)

philosophy. As the education bill repert language makes clear, it ia not proper in
the acience clasarooms of our public schools to teach either religion or philosophy.
But also, it says, just because some think that contending scientific theories may
have implications for religion or philosophy, that ia ne reason to ignore or
trivialize the scientific issues embodied in those theories. After all, there are_
enormous teligiqus and philosophical’ questions implied Py much of what science does,
eapecially these days. Thus, it ie entirely appropriate that the scientific evidence
behind them is examined in science clagsroome. Efforts ta shut down scientific
dehates, as such, only serve te thwart the true purposes of education, sciente and
law.

There is a question here of academic freedom, freedom to learn, as well as to
teach. The debate over origins is an excellent example. Just as has happened in
ether subjects in the history of science, a number of scholara are now raising
seientific challenges to the usual Darwinian account of the origins of life. Some
scholars have proposed such alcearnative theerles as intelligent design. In the Utah
law reyiew article the authors atate, ". . . The time has come for school boards to
reaiet threats of litigation Erem those whe would censor teachers, whe teach the
scientific eemtroversy over origins, and to defend their afforte to expand student
access to evidence and information about this timely and compelling controversy."

The public supportea the position we are.taking today. Fer instance, national
opinion surveys show-toa use the origina issue again-that Americans overwhelmingly
desire to have students learn the scientific arguments against, as well as fer,
Darwin's theory. A recent tegby International poll *813376 shows the preference on
this as 71 percent to 15 percent, with 14 percent undecided. The goal is avademic
excellence, not dogmatiam. It is most timely, and gratifying, that Congress is
acknowledging and supporting this objective.

Mr. ROBERTS.

Mr. President, I am pleased that with the passage of this legislation, we are on
our way to assisting cur Nation's schools in providing a quality education for each
and every child. I want te thank Senators

Fennedy and
Gregg, Cengressmen
Boehner and

Miller and their staffs for their hard work in trafting a bipartisan piece of
legislation that will give children the oppertunity to succeed in the classroom.

Loam also happy to see that this legislation includes an emphasis on math and
sedencte education. Senator

Frist, Congressman

Ehlers and myself have worked hard to make ensure that there ia a renewed focus
on a portion of education curricula that needs addressing. Scores on the National
hasessment for Educational Progress, NAEF, test in the subject area of seience have
not improved over the last several years and, in fact, nave been lower than previous
Years test scores. Seniors in high school who took the 2000 NAEP science test
scored, on average, three points lower than those taking the test in 1936. only 14
percent correctly anawered challenging science questions, down from 21 percent and
those students who knew jugt the basics dropped to 453 percent. This is simply
wnaccepkable.

According to an Associated Press article that appeared in the Kansas City Star on
HWovember 20, many science teachers complain that they can't persuade school
sfficials ta give them the time or money required for training. Our math anc sclence
provision in this bill addresses this very problem through a variety of ways,
including: one, impreving and upgrading the status and stature of mathematics and

2 2005 Thomson/West., Ne Claim to Orig. U.5. Govt. Works.

 
